

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-27,052-04






EX PARTE DONALD RAY SIGARST, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 90200-B IN THE 252ND JUDICIAL  DISTRICT COURT


FROM JEFFERSON COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault and sentenced to ninety years' imprisonment.  The Ninth Court of Appeals affirmed his
conviction. Sigarst v. State, No. 09-06-0212-CR (Tex. App. - Beaumont, March 14, 2007, pet.
ref'd).

	Applicant contends, inter alia, that his trial counsel rendered ineffective assistance because
counsel failed to present available evidence that Applicant suffered a mental illness which rendered
him incompetent to stand trial.  

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant's trial counsel had
information regarding Applicant's psychiatric history prior to trial, and if so, whether he considered
introducing such evidence at trial.  The trial court shall make findings as to whether counsel had any
indication that Applicant was not competent to stand trial, and if so, why counsel failed to request
a competency evaluation.  The trial court shall make findings as to whether the performance of
Applicant's trial attorney was deficient and, if so, whether counsel's deficient performance
prejudiced Applicant.  The trial court shall also make any other findings of fact and conclusions of
law that it deems relevant and appropriate to the disposition of Applicant's claim for habeas corpus
relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed: October 1, 2008


Do not publish


